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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                      Hon. Stanley R. Chesler



           v.                           :     Crim. No. 07—143 (SRC)


EMMANUEL JONES,
     a/k/a “Killer,”                          ORDER
     a/k/a “Killer E,” and
     a/k/a “Emo”


      This matter having been opened to the Court on the

application of the United States of America (Paul J. Fishman,

United States Attorney for the District of New Jersey, by Melissa

L. Jampol and Lisa M. Colone, Assistant United States Attorneys

appearing) in the presence of defendant EMMANUEL JONES, a/k/a

“Killer,” a/k/a “Killer E,” a/k/a “Emo” (David A. Ruhnke, Esq.

and Paul Condon, Esq. appearing), for a determination under 18

U.S.C. § 4241 as to whether the defendant is presently suffering

from a mental disease or defect rendering him mentally

incompetent to understand the nature or consequence of the

proceedings against him or to assist properly in his defense; and

the Court having held a hearing on May 10, 2010 and considered

materials submitted on this matter including: the submission of

defense counsel, including counsel’s May 7, 2010 letter, which

indicates that counsel believes the defendant is presently

competent; the submissions of the Government including the

Government’s May 7, 2010 brief; the report of William J. Ryan,
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